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 a resolution which eliminates the necessity for a hearing,” which “further[s] judicial
 economy and the administration of justice.” James R. Glidewell Dental Ceramics,
 Inc. v. Phila. Indem. Ins. Co., No. 8:16-cv-01155-JLS-E, 2016 U.S. Dist. LEXIS
 189416, at *1 (C.D. Cal. Sept. 12, 2016) (internal quotation marks omitted); accord
 Caldera v. J.M. Smucker Co., No. CV 12-4936-GHK (VBKx), 2013 U.S. Dist.
 LEXIS 183977, at *2 (C.D. Cal. June 3, 2013) (noting that the rule “enables the
 parties to brief the remaining disputes in a thoughtful, concise, and useful manner”
 (internal quotation marks omitted)). Here, the Mosafer parties filed their motion
 fewer than seven days after the parties’ prefiling conference of counsel. (See Mot. 1
 (stating November 5 prefiling conference took place before November 8 filing).) As
 articulated in the Broidy parties’ ex parte application, this short turnaround between
 the conference and the filing of the motion, coupled with the Mosafer parties’
 decision to set the motion to be heard with minimal notice, prejudiced the Broidy
 parties by depriving them of a full opportunity to craft a timely and thorough written
 response. (See Appl. 1.) The Mosafer parties’ desire to have their motion heard on
 the same day as other parties’ motions to strike their pleading does not obviate their
 obligation to comply with the rule. (See Opp’n Ex. A, at 2, ECF No. 80-1.)

        The motion is denied without prejudice, and the application is denied as moot.
 The Mosafer parties shall respond to the Broidy parties’ counterclaim within 14 days.
 If the Mosafer parties seek to renew their motion, they must provide a declaration
 establishing strict compliance with Local Rule 7-3. The Court expects the parties to
 confer in good faith and agree upon an appropriate briefing schedule.

       The other three motions to strike remain scheduled to be heard on December
 6, 2021.

 IT IS SO ORDERED.




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